Case 1:14-cv-23388-KMM Document 77 Entered on FLSD Docket 01/23/2018 Page 1 of 6



                            UN ITED STA TES D ISTRICT COU RT
                            SOUTH ERN DISTRICT OF FLORID A

                       CA SE N O .14-23388-C1V-M OORE/M CALlLEY

  ORLAN D O ESTRAD A ,

         Plaintiff,



  FTS U SA ,LLC,

         D efendant.


                          REPO RT A ND REC O M M EN DATIO N
                      O N DEFEN DA NT'S M O TIO N TO TA X CO ST S

         The Courthas before it D efendant FTS U SA ,LLC'S Renew ed M otion to Tax

  CostsgDE 691,which isfully briefed (DE 721.TheHonorableK.M ichaelM oorereferred
  theM otion tome.(DE 711.1recommend thattheCourtgrantthatM otion inpart.
  1.     Background

         On Septem ber 15,2014, Plaintiff, Orlando Estrada,sued his fonuer em ployer,

  FTS USA ,LLC,forfailing to pay Plaintiffovertim e wages asrequired by the FairLabor

  StandardsAct,29 U.S.C.j 201,etseq (1ûFLsA'').(DE 1q.1On October24,2016,the
                                             .




  Courtentered summary judgmentforDefendant,a decision thatthe Eleventh Circuit
  CourtOfAppealslateraffirmed.(DE 59,68j,
         FederalRule of CivilProcedure 54(d) entitles the Defendant,as the prevailing
  party,to recovercertain ofits costs,and in N ovem ber,2016,D efendantfiled a M otion to

  1shortly afterPlaintiff filed the case, D efendanttiled for bankruptcy,w hich caused this Courtto
  staythisactionforayear.(DE 17,201.
Case 1:14-cv-23388-KMM Document 77 Entered on FLSD Docket 01/23/2018 Page 2 of 6




  Tax Costs.(DE 641.TheCourtstayed thatM otion whilePlaintiffs appealwaspending.
  (DE 60,661.Afterthe Eleventh CircuitCourtofAppeals affirmed the DistrictCourt's
  entry ofsummaryjudgment(DE 681,and Defendanttimely filed the Renewed M otion to
  Tax Costsnow beforetheCourt,towhich Plaintifffiled aresponse.(DE 69,721.
  Il.   A nalysis
        Rule 54(d) provides thata prevailing party is entitled to recover its costs as a
  m atter of course.Title 18 U .S.C .section 1920 enum eratesthe costs the prevailing party

  may recover.See Crawford Fitting Co.v.JT.Gibbons,Inc.,482 U.S.437,441-42
  (1987);28 U.S.C.j 1920.The prevailing party mustmake a clearrequestforcoststhat
  allow s the Courtto determ ine the costs thatparty incurred and w hether it is entitled to

  recoverthem .Santana v.RCSH Operations LLC,N o.10-61376-CIV ,2012 W L 3779013,

  at*2 (S.D.Fla.Aug.31,2012).The Courtmay award only those costsauthorized by 28
  U.S.C.j 1920.See U S.E.E.O.C.v.F'
                                  & O,Inc.,213 F.3d 600,620 (11th Cir.2000).
  DefendantasksthatPlaintiffreimburse$3,388.50 ofDefendant'scosts.(DE 69,p.3j.
        A.     D eposition Transcriptsand Interpreter Fee

        DefendantasksthatPlaintiffpay the $2,034.60 costofthetranscriptofPlaintiffs

  deposition, $937.50 that Defendant paid an interpreter Defendant used at Plaintiffs

  deposition,and $285 in costsincurred forthe deposition ofLauren Dudley,Defendant's

  corporaterepresentative.Vd.;DE 69-2,pp.9-101.
        Section 1920 authorizes the Courtto aw ard the costof deposition transcripts.28

  U.S.C.j 192042)(Defendantmay recovertûltlees forprinted orelectronically recorded
  transcriptsnecessarily obtained forusein the case'').Recovery ofthe costofdeposition
Case 1:14-cv-23388-KMM Document 77 Entered on FLSD Docket 01/23/2018 Page 3 of 6



  transcriptsisperm itted here becausethe Defendanthas shown thatthey were Stnecessarily

  obtained for use in the case.''See Santana,2012 W L 3779013 at *5-6;see also F & O,

  Inc.,213 F.3d at620-21.Specifcally,Defendantrelied on both transcripts in itsm otion

  forsummaryjudgment.(DE 69,p.3;seealso DE 48,MotionforSummary Judgment,
  andDE 49,StatementofundisputedMaterialFactsj.
        Section 1920 also authorizes the Court to aw ard D efendant the cost of the

  interpreteritused atPlaintiffsdeposition.28 U.S.C.j 192046)(theprevailing party may
  recoverthe costoftûcompensation ofinterpreters'').See also Rodriguez v.M arble Care
  1nt'1.,lnc.,862F.Supp.2d 1316,1321(S.D.Fla.2012).
        Plaintiff does not objectto the $2,034.60 cost ofthe transcriptof Plaintiffs
  deposition,or the $937.50 thatDefendantpaid the interpreter atPlaintiffs deposition.

  Plaintiff does objectto some ofthe costs associated with M s.Dudley's deposition;
  specifically,the costof(1)expediting thattranscript,(2)providing a condensed version
  ofthetranscript,and (3)courierdelivery ofthetranscript.(DE 721.
        Plaintiff is correct thatthe costs ofthese services are notrecoverable as they are

  considered prim arily for the convenience of counsel. See, e.g., Santana, 2012 W L

  3779013 at* 6-7 (denying costsforcondensed transcripts,courierservice and shipping
  and handling);see also Rodrlkuez v.Super Shine drDetailing,Inc.,No.09-23051-C1V,
  2012 W L 2119865,at *9 (S.D.Fla.June 11,2012) (expedited delivery is tsconsidered
  solely forthe convenience ofcounselabsenta show ing thatthere is need orextraordinary

  circumstancetojustify (the)expense'')(quotation marksand citation omitted).
Case 1:14-cv-23388-KMM Document 77 Entered on FLSD Docket 01/23/2018 Page 4 of 6




        Defendant has not identised any extraordinary circumstance that justified
  expediting the transcript of M s.Dudley's deposition,and therefore the Court willnot

  award thatcost.The Courtwould aw ard the costofaregulartranscription,butD efendant

  has notidentified whatthatcostwould have been.gk
                                                 î'eeDE 69-2,p.102.W ithoutthat
  inform ation,the Courtis unable to aw ard any ofthe costsassociated w ith M s.Dudley's

  deposition,and Ithereforerecom mend thattheCourtnotaward the$285 associatedwith

  M s.Dudley'sdeposition,butdo award therem ainingcosts,which total$2,972.10.
        B.     Copying Costs

        Defendantasksthatitbecompensated the $56.40 costofphotocopying docum ents

  itproduced to Plaintiff.(DE 69,p.41.Plaintiffhasnotobjected to this.gDE 721.Section
  1920 permitsûtltleesforexemplification and thecostsofmaking copiesofany materials
  wherethe copiesare necessarily obtained foruse in the case.''28 U .S.C.j 1920(4);see
  alsoM onelusv.Tocodrian,Inc.,609F.Supp.2d 1328,1335 (S.D.Fla.2009).Defendant
  m aintains these photocopies were Ssnecessarily obtained for use in the case''because the

  Court required Defendant to produce them to Plaintiff. (DE 69, p.41. 1 agree and
  recommendthatDefendantrecover$56.40 in costs.

        C.     Fees ofthe Clerk

        Last,Defendantasksto bereimbursed the $75 feeitpaid foritscounsel'spro hac

  viceadmission to theCourt.(DE 69,p.41.Again,Plaintiffhasnotobjected.(ks'
                                                                         ccDE 721.
  Section 1920permitsrecovery ofûilfleesoftheclerk andm arshal.''28 U.S.C.j 1920(1).
        Courts in this district have held thatpro hac vice fees are an expense ofcounsel

  and are nottaxable under section 1920(1).See ExhibitIcons,LLC v.XP Companies,
                                             4
Case 1:14-cv-23388-KMM Document 77 Entered on FLSD Docket 01/23/2018 Page 5 of 6




  ffC,No.07-80824-C1V,2009 W L 3877667,at#1(S.D .Fla.Nov.18,2009);Covington
  v Arizona Beverage Co.,LLC,No.08-21894-C1V,2011 W L 810592,at*4 (S.D .Fla.
  Jan.25,2011),reportand recommendation adopted,2011W L 777883 (S.D.Fla.M ar.1,
  2011);Osorio v.DoleFood Co.,No.07-22693-C1V,2010 W L 3212065,at*3 (S.D.Fla.
  July 7,2010),reportand recommendation adopted,2010 W L 3212062 (S.D.Fla.Aug.
  12,2010).Therationaleisthataparty lloughtnotto beara costresulting from (the other
  party's) choosing an outof state attorney to defend (itselfl when competent in-state
  attorneys w ere available.''ExhibitIcons,2009 W '
                                                  L 3877667,at #1.On this reasoning,1

  recommend thatDefendantnotbeawarded its$75pro hacvice fee.

  111. R ecom m endation

        For the reasons described above,l R EC O M M END thatthe Court G R ANT IN

  PART Defendant's Renewed M otion to Tax Costs (DE 69q, and award Defendant
  $3,028.50 in costs.

  lV. Objections
        No Iater than fourteen days from           the date of this R eport and

  Recommendation the parties may tsle any written objections to this Report and
  Recom m endation w ith the Honorable K .M ichaelM oore,who is obligated to m ake a de

  novo review of only those factualfindings and l
                                                egalconclusionsthatarethe subjectof
  objections. Only those objected-to factual findings and legal conclusions may be
  reviewed on appeal.See Thomas v.Arn,474 U.S.140 (1985);Henley v.Johnson,885
  F.2d 790,794 (11th Cir.1989);28U.S.C.j636(b)(1);11th Cir.R.3-1(2016).


                                           5
Case 1:14-cv-23388-KMM Document 77 Entered on FLSD Docket 01/23/2018 Page 6 of 6



        RESPECTFU LLY SUBM ITTED in cham bers atM iam i,   Florida,this#:Cfyof
  January,2018.



                                             * xyN           */
                                     C    S M CALILEY
                                     UN ITED STA TES M A GISTR ATE JUD GE


  CC:
  The H onorable K .M ichaelM oore
  Counselofrecord
